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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT
                                      :
Evergreen Power, LLC and              :    3:12-CV-00032 (SRU)
Asnat Realty, LLC                     :
              Plaintiffs              :
                                      :
       v.                             :
                                      :
United Illuminating Company           :
              Defendant               :    July 30, 2012
                                      :

                          Memorandum Of Law In Support Of:
            Plaintiffs’ Motion For Partial Summary Judgment As To Liability
           On The First And Fourth Counts Of The Second Amended Complaint

       This Memorandum is filed in support of Plaintiffs’ Motion for Partial Summary

Judgment. In accordance with FRCP Local Rule 56(a)1, plaintiffs’ Local Rule 56(a)1 Statement

(“LRS”) is annexed to their Motion for Partial Summary Judgment. The plaintiffs seek partial

summary judgment as to the defendant’s CERCLA liability, 1 as alleged in the First and Fourth

Counts of the Second Amended Complaint dated April 18, 2012 (“Complaint”). As discussed

herein, and supported by the LRS and attachments thereto, plaintiffs have established the

elements of a prima facie case and there are no genuine, relevant issues of fact to be tried as to

the defendant’s CERCLA liability.

I.     INTRODUCTION

       This matter involves the contamination and ongoing investigation and clean up of a

power generation facility on certain real property (“Site” or “Property”) located in New Haven,

Connecticut between and abutting the East and West Branches of the Mill River.



1
 For purposes of this motion only, plaintiffs refer to “defendant’s CERCLA liability” as a prior
owner and operator, as alleged in the First Count. Plaintiffs’ additional claim that UI has
CERCLA liability as an arranger (Second Count) is not addressed in this motion.
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History Of Property Ownership And Use:

       The Property consists of 8-9 acres built from dredge spoils, including those removed

from the abutting Mill River East Branch and Mill River West Branch over a period of time from

1900 to 1953. LRS, ¶5-6. 2 The Property encompasses both the former “Station B” building

along Grand Avenue, and “English Station” on the southern end of the site. LRS, ¶7. UI owned

and operated the Property from (at least 3 ) 1914 through August of 2000. LRS, ¶¶8-10 & 24.

Power generation in the Station B building stopped in the 1920s (prior to the time that

Polychlorinated Biphenyls (“PCBs”) were brought into commercial use); however, UI

subsequently used the Station B building for storage of PCB-containing materials and

equipment. LRS, ¶11.

       UI conducted power generation operations on the Property until 1992, when power

generation at the Property ceased. LRS, ¶13, see also ¶¶12 & 14. At the time UI sold the

Property in August of 2000, the former English Station facility occupied approximately 100,000

square feet and included out-of-service electrical equipment containing PCBs. LRS, ¶12. In

fact, most, if not all, electrical transformers and capacitors used and stored at the Site must be

presumed to contain PCBs because of the widespread use of such PCB-containing equipment in

the electric industry. LRS, ¶12. In addition, in the course of its operations, UI sprayed PCB-

containing waste oil as an outdoor dust control measure. LRS, ¶22.



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  Plaintiffs= Local Rule 56(a)1 Statement (ALRS@) is appended to Plaintiffs= Motion For Partial
Summary Judgment. In this Memorandum, reference is made to the paragraphs of the LRS.
Affidavits and other documentation supporting statements of fact are cited in, and attached as
exhibits to, the LRS.
3
  On information and belief, UI is likely a successor to (or was re-named following a merger
with) the former New Haven Electric Company, which owned and operated the Site prior to
1914. However, Plaintiffs do not claim this fact as undisputed for purposes of summary
judgment and do not rely on it to establish their prima facie case for CERCLA liability.


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       As stated, UI ceased power generation and subsequently, in August of 2000, sold the

Property to Quinnipiac Energy, LLC (“QE”). LRS, ¶¶13, 14, & 23-25. QE hoped to operate the

Site as a power generation peaking facility; however, at the time of the sale it did not hold all of

the necessary permits to do so. LRS, ¶27. QE’s efforts to obtain at least one of the necessary

permits failed and QE never operated the Site. LRS, ¶¶28-29. During its period of ownership,

QE did not bring onto the Site any equipment or substances that likely would contain PCBs.

LRS, ¶30. QE sold the Property to the plaintiffs in December of 2006. LRS, ¶4. During their

term of ownership, plaintiffs have not generated power or operated any other business on the Site

and have not brought onto the Site any equipment or substances that likely would contain PCBs.

LRS, ¶31. Therefore, all PCBs removed from and currently present on the Site, including PCB-

containing oil in equipment and PCBs impacting Site soils, sediment, ground water, concrete,

asphalt, or structures, arrived at the Site during UIs ownership and operation of the Site.

LRS, ¶32 (as supported by the LRS paragraphs cited therein).

Environmental Investigation And Remediation:

       Some environmental investigation, remediation, and removal work (“Work”) has been

conducted at the Site. LRS, ¶33. Some of that Work was conducted by or for UI during its

ownership (LRS, ¶¶34-35) and additional Work was completed during QE’s ownership (LRS,

¶36). During the QE time period, Work was conducted for QE by Advanced Environmental

Interface, Inc. LRS, ¶¶36-37. The Work is not complete, PCBs are present in the soils and other

materials on Site, and conditions exist at the Site which pose a potential threat of release to soils,

groundwater, and surface waters. LRS, ¶38. Significant Environmental Hazards (“SEHs”) have

been identified in eight locations on the Property due to the presence of high levels of PCBs.

LRS, ¶39. Plaintiffs have also performed Work, including additional investigative work and




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removal activities conducted by Marc Casslar, LEP of GeoQuest, Inc. LRS, ¶¶40 & 43. In

addition, Plaintiffs have engaged John Insall, LEP of Stantec to develop a Site Wide Remedial

Action Plan for submission to the United States Environmental Protection Agency (“U.S. EPA”)

and the Connecticut Department of Energy and Environmental Protection (“CT DEEP”), a

necessary next step for a CERCLA quality clean up. LRS, ¶¶40 & 45.



II.      LAW AND ARGUMENT

         A.     Standard of Law:

         The standard of law with respect to summary judgment was well summarized by this

Court:

         Summary judgment is appropriate when there exists no genuine issue of material
         fact and, based on the undisputed facts, the moving party is entitled to judgment
         as a matter of law. Therefore, to defeat summary judgment, evidence must be
         presented upon which a jury could reasonably find for the non-movant.

Marczeski v. Handy, 2004 U.S. Dist. LEXIS 22167, *2 (D. Conn. 2004) (internal citations and

quotation marks omitted). The plaintiffs, as the moving parties here, have the burden of showing

that no triable issues of fact exist and, therefore, inferences drawn from the facts must be viewed

in the light most favorable to the non-moving party. Thompson v. Gjivoje, 896 F.2d 716, 720 (2d

Cir.1990). However, to avoid summary judgment, the defendant must identify a genuine triable

issue as to a relevant fact.

         When a motion for summary judgment is supported by documentary evidence and
         sworn affidavits, the nonmoving party must present significant probative evidence
         to create a genuine issue of material fact. A party may not create a genuine issue
         of material fact by merely presenting unsupported statements. Conclusory
         allegations or unsubstantiated speculation on the part of the non-movant is
         insufficient to defeat summary judgment. Therefore, the non-movant cannot
         escape summary judgment merely by vaguely asserting the existence of some
         unspecified disputed material facts or defeat the motion through mere speculation




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        or conjecture. Instead, to defeat summary judgment the non-moving party must
        produce specific, particularized facts indicating that a genuine factual issue exists.

Marczeski, at *2-3 (internal citations and quotation marks omitted).

        B.       Plaintiffs Have Established a Prima Facie Case for CERCLA Liability:

        There are no genuine issues of fact to be tried with respect to the issue of the defendant’s

liability under CERCLA in this matter. The elements of a prima facie case for CERCLA

liability are:

        (1) the defendant is within one of the four categories of responsible parties enumerated
            in 42 U.S.C. § 9607(a);

        (2) the site is the facility as defined in 42 U.S.C. § 9601(9);

        (3) there is a release or threatened release of a hazardous substance at the facility;

        (4) the plaintiff incurred costs responding to the release or threatened release; and

        (5) the costs were incurred for necessary response actions substantially in compliance
            with the national contingency plan.

See e.g. ABB Indus. Sys. v. Prime Tech., 120 F.3d 351, 356 (2d Cir. 1997); N.Y. State Elec. &

Gas Corp. v. FirstEnergy Corp., 808 F. Supp. 2d 417, 488 (N.D.N.Y. 2011); K.V.L. Corp. v.

Holson Co., 2000 U.S. Dist. Lexis 22955, *110 (D. Conn. 2000).

        As discussed in this memorandum, and with reference to the LRS and attachments

thereto, the plaintiffs have met their burden of supporting a prima facie case for UI’s CERCLA

liability. Therefore, UI may avoid partial summary judgment on liability only by establishing a

genuine issue of fact relevant to an element of that prima facie case, or by establishing the

applicability of one of the four limited statutory defenses available pursuant to 42 U.S.C. §

9607(b) (that the release or threatened release was caused by an act of God, an act of war, certain




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acts or omissions of third parties other than those with whom the defendant had a contractual

relationship, or some combination of these reasons). 4

1.     Defendant falls within two of the four categories of responsible parties.

       Potentially responsible parties (“PRPs”) under CERCLA must meet the broad definition

of Aperson@ set forth at 42 U.S.C. ' 9601(21); pursuant to that definition, corporations are

persons.      UI is a Connecticut corporation (LRS, ¶3) and, therefore, a person for purposes of

CERCLA.

       A defendant must also fall within the requirements of one or more of the four categories

of PRPs set forth in 42 U.S.C. § 9607(a). The second category of PRPs includes two sub-

categories:

       any person who at the time of disposal of any hazardous substance owned or
       operated any facility at which such hazardous substances were disposed of.

42 U.S.C. ' 9607(a)(2)(emphasis added). Having both owned and operated the Property at the

time of disposal, UI is liable under both of these subcategories. As noted (supra fn1) defendant’s

arranger liability under the third category of PRPs is not addressed by this motion.

       a.       Owner at the time of disposal.

       The first sub-category of potentially responsible parties includes owners of a facility at

the time of disposal. 42 U.S.C. ' 9607(a)(2). Disposal is defined as “the discharge, deposit,

injection, dumping, spilling, leaking, or placing of any solid waste or hazardous waste into or on

any land or water so that such solid waste or hazardous waste or any constituent thereof may




4
  UI’s generic, boilerplate affirmative defenses do not provide sufficient specificity to allow
plaintiffs to address them at this time; the defenses are not directed to particular counts of the
Complaint, and contain no allegations of fact, disputed or otherwise. See LRS Exhibit 2 (Answer
to Second Amended Complaint), pp. 10-13. If in fact properly raised in opposition to CERCLA
liability under the First and Fourth Counts, plaintiffs must address such defenses in their reply.


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enter the environment or be emitted into the air or discharged into any waters, including ground

waters.” 42 U.S.C. ' 6903(3) as incorporated by 42 U.S.C. ' 9601(29).

       It is undisputed that UI owned the Property from 1914 to August 16, 2000. LRS, ¶¶8-9

& 23-25. UI admits that hazardous substances were disposed of at or on the Property prior to the

sale to QE, including PCBs. LRS, ¶26. The evidence conclusively demonstrates that PCBs were

discharged or deposited (sprayed) onto the Property by UI, and that additional PCB-containing

materials (oil, equipment, etc.) were deposited, dumped, spilled, leaked or otherwise placed on

the Property during UI’s ownership. LRS, ¶¶15-17, 19, & 22. In fact, all PCBs (both removed

to date and currently located on or at the Property, including PCBs in soils and equipment) came

to the Property on UI’s watch. LRS, ¶32 (as supported by the LRS ¶s cited therein). The

defendant is an owner at the time of disposal and, therefore, a PRP pursuant to 42 U.S.C. '

9607(a)(2).

       b.     Operator at the time of disposal.

       The second sub-category of potentially responsible parties includes operators of a facility

at the time of disposal. 42 U.S.C. ' 9607(a)(2). It is also undisputed that UI operated on the

Property from 1914 to at least 1992. LRS, ¶¶10 & 13-14. As discussed supra, hazardous

substances, including PCBs, were disposed of on or at the Site during that time period. LRS,

¶¶26, 22, 15-17, & 21. The defendant is an operator at the time of disposal and, therefore, a PRP

pursuant to the operator subcategory of 42 U.S.C. ' 9607(a)(2).

2.     The English Station Site is a facility.

       A CERCLA facility is defined as:

              (A) any building, structure, installation, equipment, pipe or
              pipeline (including any pipe into a sewer or publicly owned
              treatment works), well, pit, pond, lagoon, impoundment, ditch,
              landfill, storage container, motor vehicle, rolling stock, or aircraft,



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               or (B) any site or area where a hazardous substance has been
               deposited, stored, disposed of, or placed, or otherwise come to
               be located; but does not include any consumer product in
               consumer use or any vessel.

42 U.S.C. ' 9601(9) (emphasis added).

       There is no question that hazardous substances have come to be located at the Site. LRS,

¶26. Hazardous substances under CERCLA include all substances designated by the U.S. EPA

pursuant to 42 U.S.C. § 9602. See B.F. Goodrich Co. v. Murtha, 958 F.2d 1192, 1199-1200 (2d

Cir. 1992). PCBs are a listed hazardous substance pursuant to 42 U.S.C. ' 9601(14)(B) as they

are a compound, mixture, solution, or substance designated pursuant to 42 U.S.C. ' 9602 and

listed in Table 302.4 of 40 C.F.R. ' 302. See also LRS, ¶16. The pervasive evidence is that

PCBs are and have been present in a number of locations on the Property (see e.g. LRS, ¶15 and

materials cited therein). UI has admitted that PCBs (and other substances) have “come to be

located” on the Property. LRS, ¶26. The Property is a CERCLA facility.

3.     The release of hazardous substances has occurred at the Site.

       There have been releases of hazardous substances at the Site. LRS, ¶15. CERCLA

liability requires that there be a release or threatened release of a hazardous substance at the

facility. 42 U.S.C. 9607(a). With certain exclusions not relevant here, a release is defined as:

               ... any spilling, leaking, pumping, pouring, emitting, emptying,
               discharging, injecting, escaping, leaching, dumping, or disposing
               into the environment (including the abandonment or discarding of
               barrels, containers, and other closed receptacles containing any
               hazardous substance or pollutant or contaminant) . . .

42 U.S.C. ' 9601(22). UI’s spraying of PCB-containing oils (LRS, ¶22) alone would constitute

a “release” into the environment. However, site wide releases of PCBs have been identified,

including a number of Significant Environmental Hazards (“SEHs”) identified on the Property

due to the presence of high levels of PCBs. LRS, ¶¶15, 22, & 39; see also ¶¶19, 32-33, & 38.



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4.     Plaintiffs have incurred response costs.

       The plaintiffs have incurred response costs with respect to releases of hazardous

substances, including PCBs, at the English Station Site. LRS, ¶¶40, 43, 45, & 47. Costs

incurred include (without limitation): costs associated with Work performed (or supervised) by

Marc Casslar of GeoQuest, Inc. and by John Insall of Stantec Consulting Services, Inc. LRS,

¶¶40, 43, 45, & 47.

5.     Plaintiffs= costs are recoverable.

       To establish liability, a plaintiffs burden is to establish it has incurred some recoverable

response costs. 42 U.S.C. § 9607(a)(4)(B); SPS Limited Partnership, LLP v. Severstal Sparrows

Point, LLC, 808 F. Supp. 2d 794, 804 (D. Md. 2011) (citing Sherwin-Williams Co. v. ARTRA

Grp., Inc., 125 F. Supp. 2d 739, 752 (D. Md. 2001)). In support of this motion, it is not

necessary for the plaintiffs to present all of their incurred costs, or to prove that each and every

incurred cost is recoverable (i.e. necessary and substantially consistent with the NCP). 5 SPS

Limited, at 804 (citing Weyerhaeuser v. Koppers Co., Inc., 771 F. Supp. 1406, 1413 (D. Md.

1991)); S.C. Elec. & Gas Co. v. UGI Utils., Inc., 2012 U.S. Dist. Lexis 61487, *131-132 (D. S.C.

2012). The plaintiffs have met their burden of establishing recoverable response costs in support

of their prima facie case for liability; a more detailed and comprehensive analysis of costs can be

left to the damages phase. Sherwin-Williams Co. v. ARTRA Group, Inc., 125 F. Supp. 2d 739,

753 (D. Md. 2001) (plaintiff having met is burden for liability purposes, “more proof may be

considered as to which specific costs were or were not consistent with the NCP at the damages

phase”).




5
 Therefore, plaintiffs reserve the right to offer evidence as to additional costs (costs not cited or
supported in the LRS) as appropriate in the damages phase of this litigation.


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       The response actions taken by the plaintiffs, and the costs thereby incurred, for

investigation, removal, and preliminary remedial actions to address PCB contamination at the

Site were necessary and substantially consistent with the National Contingency Plan (“NCP”).

Plaintiffs have conducted some removal activities (and some removal and/or remedial activities

were performed prior to plaintiffs’ purchase of the Property); however, the bulk of the Work to

date has been investigation and evaluation. See LRS, ¶¶33-36, 38, & 43. As discussed below, a

site wide Remedial Action Plan for PCBs is currently being developed for submission to U.S.

EPA and CT DEEP. LRS, ¶45.

       At this stage, prior to final remedy selection, many of the NCP requirements do not apply

to the Work performed by the plaintiffs. “A private party response action will be considered

‘consistent with the NCP’ if the action, when evaluated as a whole, is in substantial compliance

with the applicable requirements in paragraphs (5) and (6) of this section, and results in a

CERCLA-quality cleanup.” 40 C.F.R. § 300.700(c)(3)(i) (emphasis added); see also K.V.L.

Corp. v. Holson Co., 2000 U.S. Dist. Lexis 22955, *117 (D. Conn. 2000); Nashua Corp. v.

Norton Co., 116 F. Supp. 2d 330, 353 (N.D.N.Y. 2000) (recognizing that not all NCP

requirements are applicable to investigative stage and noting that “the NCP sets no explicit time

limit on the initial investigatory phase”). “Response actions will not be considered inconsistent

with the NCP based on immaterial or insubstantial deviations from the NCP.”           40 C.F.R.

§300.700(c)(4).

       Plaintiffs engaged Marc Casslar and John Insall to perform certain Work. LRS, ¶¶43 &

45. Mr. Casslar and Mr. Insall are both well qualified and experienced Connecticut Licensed

Environmental Professionals.    LRS, ¶48.     The Work performed by these LEPs, including




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investigation work, removal work, and the development of a RAP for submission to U.S. EPA

and CT DEEP), was necessary and, to the extent required, substantially consistent with the NCP.

       a.     Investigation.

       Plaintiffs have incurred necessary costs of investigation of releases of PCBs at the

Property (LRS, ¶¶42-44); these investigation costs are recoverable without considering NCP

compliance.

       The costs of initial investigation and monitoring of a release are recoverable,
       however, without such a showing. Gache v. Town of Harrison, N.Y., 813 F. Supp.
       1037, 1046 (S.D.N.Y. 1993) (“initial preliminary investigatory and monitoring
       costs are recoverable irrespective of the recoverability of other costs or compliance
       with the requirements of the NCP”); see also Carlyle Piermont Corp. v. Federal
       Paper Bd. Co., 742 F. Supp. 814, 821 (S.D.N.Y. 1990); Artesian Water Co. v. Gov.
       of New Castle County, 659 F. Supp. 1269, 1294 (D. Del. 1987).

City of New York v. Chemical Waste Disposal Corp., 836 F. Supp. 968, 980 (E.D.N.Y. 1993)

(holding “defendants are liable for plaintiff’s investigation and monitoring costs without

considering compliance with the NCP”). Therefore, these costs alone support the finding of

recoverable costs necessary to in turn support a finding of CERCLA liability.

       b.     Removal Action.

       The NCP requirements for a removal action are less stringent than those for a remedial

action. K.V.L. Corp, at *111-112. This dichotomy reflects the short term, immediate nature of

removal actions and the long term, permanent solution focus of a remedial action.

       The terms "remove" or "removal" means [mean] the cleanup or removal of
       released hazardous substances from the environment, such actions as may be
       necessary taken in the event of the threat of release of hazardous substances into
       the environment, such actions as may be necessary to monitor, assess, and
       evaluate the release or threat of release of hazardous substances, the disposal of
       removed material, or the taking of such other actions as may be necessary to
       prevent, minimize, or mitigate damage to the public health or welfare or to the
       environment, which may otherwise result from a release or threat of release. The
       term includes, in addition, without being limited to, security fencing or other
       measures to limit access, provision of alternative water supplies, temporary



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        evacuation and housing of threatened individuals not otherwise provided for,
        action taken under section 104(b) of this Act [42 USCS § 9604(b)], and any
        emergency assistance which may be provided under the Disaster Relief Act and
        Emergency Assistance Act.

42 U.S.C. § 9601(23). NCP consistency can be established on a showing of state agency and/or

U.S. EPA involvement. See e.g. N.Y. State Elec. & Gas Corp. v. FirstEnergy Corp., 808 F.

Supp. 2d 417, 522 (N.D.N.Y. 2011); Pfohl Bros. Landfill Site Steering Comm. v. Browning-

Ferris Indus. Of N.Y., Inc., 2004 U.S. Dist. Lexis 28367, *22 (W.D.N.Y. 2004).

        Electrical equipment located on Site when UI transferred the Property to QE remained on

the Property when the plaintiffs purchased it. LRS, ¶¶12, 31-32, & 43. That abandoned

equipment contained PCB oils, presented a threat of release to the environment, and needed to be

addressed. LRS, ¶¶42-43. In addition, based on the age and condition of the equipment, and in

compliance with applicable regulations, the areas around that equipment needed to be tested for

releases of PCBs. LRS, ¶43. The plaintiffs conducted a removal action including: identification

of PCB-containing equipment, sampling and properly disposing of the oils contained in the

equipment, sampling of the equipment itself, and sampling of the areas under and around the

abandoned equipment. LRS, ¶43.

        U.S. EPA and CT DEEP were involved with removal activities performed by GeoQuest;

that involvement included requests by the agencies to perform the Work, and ongoing

consultations as the Work was performed. LRS, ¶44. To the extent applicable, the requirements

of the NCP are satisfied by U.S. EPA and CT DEEP’s involvement in the removal action.

Therefore, costs of the removal activities are recoverable and support plaintiffs’ prima facie case

for liability.




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        c.      Remedial Actions.

        While considerable Work was undertaken at the Property prior to plaintiffs’ purchase, the

parties conducting that Work did not address all areas of the Property and did not develop a site-

wide plan for remediation. LRS, ¶¶33-36 & 38. The plaintiffs have engaged John Insall of

Stantec Consulting Services, Inc. to develop and submit (to U.S. EPA and CT DEEP) a site-wide

remedial action plan (“RAP”). LRS, ¶45. The RAP encompasses a self implementing plan and

remedy selection pursuant to T.S.C.A. (40 C.F.R. Part 761), and is a necessary step in achieving

a CERCLA quality remediation at this Site. LRS, ¶45.

        John Insall is a well qualified Connecticut LEP. LRS, ¶48. Mr. Insall has consulted with

U.S. EPA and CT DEEP regarding the development and submission of a draft RAP based on

existing data and both agencies agree it is a necessary next step in addressing the site wide

PCB contamination. LRS, ¶46. Mr. Insall has been directed to continue consulting with U.S.

EPA and CT DEEP in the development of the RAP and, ultimately, will submit a draft RAP to

both agencies for review and comment. LRS, ¶46. It is anticipated that, after reviewing and

commenting on the draft RAP, U.S. EPA may require additional investigation and subsequent

revisions to the RAP prior to finalization. LRS, ¶46. However, as noted, a draft RAP based on

the currently available data is a necessary step in that process. LRS, ¶¶45-46.

        The RAP work is currently ongoing. LRS, ¶47. Plaintiffs have already incurred some

costs associated with the development of the draft RAP (LRS, ¶¶40 & 47), and have contracted

to pay for completion of that work (LRS, ¶¶45 & 47). To the extent applicable, the requirements

of the NCP are satisfied by U.S. EPA’s (and CT DEEP’s) involvement. Therefore, costs of the

RAP development, a necessary remedial activity, are recoverable and support plaintiffs’ prima

facie case for liability.




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IV.    CONCLUSION

       Plaintiffs have demonstrated there is no genuine issue of fact to be tried with respect to

each element of a prima facie case for CERCLA liability. Plaintiffs respectfully request that

partial summary judgment be entered in the First and Fourth Counts as to the defendant’s

CERCLA liability.

                                                   Respectfully Submitted,
                                                   Plaintiffs
                                                               /s/Alan M. Kosloff
                                                   ___________________________
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                                        Certificate of Service

        I hereby certify that, on July 30, 2012 a copy of the foregoing Memorandum of Law in

Support of Motion for Partial Summary Judgment was filed electronically and served by mail on

anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by

operation of the court’s electronic filing system or by mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing.




                                                                    /s/Alan M. Kosloff
                                                                ___________________________
                                                                Alan M. Kosloff




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Chamber Copies Per Electronic Filing Order (1/5/12)

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